986 F.2d 1414
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Alexander LONG, Petitioner-Appellant,v.Richard LANHAM, Commissioner, Maryland Division ofCorrection; Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 92-7255.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 25, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  M. J. Garbis, District Judge.  (CA-91-2560)
      William Alexander Long, Appellant Pro Se.
      George Albert Eichhorn, III, Assistant Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      William Alexander Long seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.*  Long v. Lanham, No. CA-91-2560 (D. Md. Nov. 18, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We note that the district court considered matters outside of the pleadings, so the proper disposition was one of summary judgment, not dismissal.  Fed. R. Civ. P. 12(c)
      
    
    